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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


RANDAL REEP, an individual,
on behalf of himself and all others
similarly situated,

                                                  CASE NO.
          Plaintiffs,
                                                  CLASS ACTION COMPLAINT
v.
                                                  JURY TRIAL DEMANDED

DELTA AIR LINES, INC., a Delaware
Corporation.

          Defendant.
__________________________________


FILING FEE WAIVED PER 38 U.S.C. § 4323(h)
          Plaintiff Randal Reep, on behalf of himself and all others similarly situated,

complains and alleges upon the investigation made by Plaintiff by and through his

attorneys, as follows:

     I.         NATURE OF ACTION

          1.       This civil class action is brought pursuant to the Uniformed Services

Employment and Reemployment Rights Act of 1994, 38 U.S.C. §§ 4301 et. seq.

(“USERRA”). It is brought by Plaintiff on behalf of a nationwide Class of all persons
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similarly situated, including current and former employees of Delta Air Lines, Inc.

(“DAL”), who were or are currently serving in the United States Armed Services or

National Guard and who took short-term military leave during their employment

with DAL but were not paid their normal wages or salaries by DAL during such

periods of military leave.

   II.         PARTIES

         A.       PLAINTIFFS

         2.       Plaintiff RANDAL REEP (“Reep”) is a citizen of the United States and

a resident of the State of Florida. Reep enlisted with Florida Air National Guard on

March 10, 1989, was commissioned and trained as an F-15 pilot, and presently holds

the rank of rank of Lieutenant Colonel. Reep was employed by DAL from 1998

through 2016.

         3.       At all relevant times, Reep was and is a qualified employee and member

of the uniformed services as defined by 38 U.S.C. § 4303(3) and (16).

         B.       NAMED DEFENDANT

         4.       Defendant DAL is a corporation organized under the laws of the State

of Delaware with its principal place of business in the State of Georgia.

         5.       At all relevant times, DAL was and is an employer as defined by 38

U.S.C. § 4303(4)(A).


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       6.       In or about October 2008, DAL merged with Northwest Airlines

Corporation (“NWA”). The surviving merged company is DAL.

       C.       DOE DEFENDANTS

       7.       Whenever and wherever reference is made to individuals who are not

named as defendants in this action, but were employees/agents of defendant, such

individuals at all times acted on behalf of defendant within the scope of their

respective employments and agencies.

       8.       Plaintiff does not seek any relief greater than or different from the relief

sought for the Class of which Plaintiff is a member. The action, if successful, will

enforce an important right affecting the public interest and would confer a significant

benefit, whether pecuniary or non-pecuniary, on a large class of persons. Private

enforcement is necessary and places a disproportionate financial burden on Plaintiff

in relation to Plaintiff’s stake in the matter.

   III.      JURISDICTION AND VENUE

       9.       This complaint arises under USERRA, 38 U.S.C. §§ 4301-4335. The

jurisdiction of this court is founded on federal question jurisdiction, 28 U.S.C. §

1331, as conferred by 38 U.S.C. § 4323(b)(3).

       10.      Venue is proper because DAL maintains its corporate headquarters in

this district, as provided in 38 U.S.C § 4323(c)(2) and 28 U.S.C. § 1391(b).


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      11.     Pursuant to 38 U.S.C. § 4323(h), “No fees or court costs may be

charged or taxed against any person claiming rights under [USERRA].”

   IV.      GENERAL LEGAL AND FACTUAL ALLEGATIONS

      12.     Plaintiff re-alleges and incorporates by reference every allegation

contained within paragraphs 1 through 11, inclusive, as though set forth at length

herein and made a part hereof.

      13.     USERRA prohibits “discrimination against persons because of their

service in the uniformed services.”

      14.     Section 4303 of USERRA provides that the term “service in the

uniformed services” means “performance of duty on a voluntary or involuntary basis

in a uniformed service under competent authority and includes active duty, active

duty for training, initial active duty for training, inactive duty for training, full time

National Guard duty…”

      15.     Section 4311 of USERRA protects persons who serve or have served

in the uniformed services from acts of discrimination; a person “who is a member

of,…performs, has performed,…or has an obligation to perform service in a

uniformed service shall not be denied initial employment, reemployment, retention

in employment, promotion, or any benefit of employment by an employer on the

basis of that membership,…performance of service,…or obligation.”


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      16.      “Benefit” is defined as:

            The term ‘benefit of employment’, or ‘rights and benefits’ means
            the terms, conditions, or privileges of employment, including any
            advantage, profit, privilege, gain, status, account, or interest
            (including wages or salary for work performed) that accrues by
            reason of an employment contract or agreement or an employer
            policy, plain, or practice and includes rights and benefits under a
            pension plan, a health plan, an employee stock ownership plan,
            insurance coverage and awards, bonuses, severance pay,
            supplemental unemployment benefits, vacations, and the
            opportunity to select work hours or location of employment.

38 U.S.C. § 4303(2) (italics added).

      17.      Section 4316 of USERRA provides that any period of absence from

employment due to or necessitated by uniformed service is not considered a break

in employment, so an employee absent due to military duty must be treated as though

they were continuously employed.

      18.      Section 4316 (b) requires military leave to be treated no less favorably

than other, comparable forms of non-military leave with respect to the rights and

benefits employees receive during their absences.

      19.      When a DAL employee is required to be absent from his or her

employment for any number of reasons (unrelated to military leave), including that

the employee is required to perform jury service or take sick leave, DAL continues

to pay the employee’s wages and/or salary during his or her absence from work.

However, DAL does not continue to pay an employee’s wages and/or salary when

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the employee takes short-term military leave (i.e., military leave that lasts no more

than 30 days).

      20.    Since at least 2007, DAL has maintained a policy or practice of refusing

to pay employees their wages or salaries when they take short-term military leave,

while continuing to pay employees their wages or salaries when they take other

comparable forms of non-military leave, such as jury duty and sick leave.

      21.    USERRA § 4316(b) provides in relevant part that “a person who is

absent from a position of employment by reason of service in the uniformed services

shall be”

      (A)    deemed to be on furlough or leave of absence while performing
             such service; and

      (B)    entitled to such other rights and benefits not determined by
             seniority as are generally provided by the employer of the
             person to employees having similar seniority, status, and pay
             who are on furlough or leave of absence under a contract,
             agreement, policy, practice, or plan in effect at the
             commencement of such service or established while such person
             performs such service.

38 U.S.C. § 4316(b)(1).

      22.    Accordingly, if an employer provides non-seniority rights and benefits

to similarly situated employees, including compensation, USERRA § 4316(b)

requires the employer to provide the same rights and benefits to employees during

their military leave. See Id.; 20 C.F.R. § 1002.150(a).

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      23.       As the USERRA regulations explain, the “most significant factor to

compare” two types of leave to determine if they are a “comparable form of leave”

is “the duration of the leave.” 20 C.F.R. § 1002.150(b). “[O]ther factors such as the

purpose of the leave and the ability of the employee to choose when to take the leave

should also be considered.” Id.

      24.       Pursuant to its policy and practice of refusing to pay employees their

regular wages or salaries during periods of short-term military leave, DAL failed to

pay Plaintiff and the Class Members their regular wages or salaries during each

period in which they took short-term military leave.

      25.       Upon information and belief, since January 1, 2007, Defendants paid

their employees their regular wages or salaries while they were on leave from their

employment because of jury duty and sick leave.

      26.       Jury duty and sick leave are comparable to short-term military leave in

terms of the duration of these forms of leave and in terms of the involuntary nature

of the leave.

      27.       For DAL’s employees, the duration of jury duty and sick leave is

comparable to the duration of short-term military leave. Each of these types of leaves

commonly lasts several days, and usually not more than a couple of weeks.

      28.       Like jury duty and sick leave, short-term military leave is ordinarily


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involuntary. Jury duty is required by federal, state, or local law. Sick leave occurs

due to a short-term, involuntary medical condition that prevents the employee from

working. And short-term military leave occurs due to an employee-service

member’s obligation to perform military service in the United States Armed Services

or National Guard.

      29.    In addition, the purpose of jury duty is the same as short-term military

leave: to perform service for our government and engage in public service for the

benefit of our society.

      30.    DAL’s policy or practice of refusing to pay employees their wages or

salaries when they take short-term military leave and continuing to pay employees

their wages or salaries when they take other comparable forms of non-military leave

violates USERRA § 4316(b), because it denies DAL’s employees a non-seniority

right or benefit that is provided to similarly situated employees who are on furlough

or leave of absence. 38 U.S.C. § 4316(b).

      31.    This policy or practice has unlawfully denied DAL’s employees the

wages or salaries that they should have received when they engaged in short-term

military leave compared to employees who received wages or salaries when they

engaged in jury duty, sick leave, or other comparable forms of non-military leave.

      32.    Since his employment with DAL began in 1998, Plaintiff took many of


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periods of short-term military leave of 30 days or less that qualified as service in the

uniformed services within the meaning of USERRA, 38 U.S.C. § 4303(13),

including in the following years: 2007 through 2016.

      33.    For the times that Plaintiff took military leave, including short-term

military leave, DAL did not pay Plaintiff his regular wages.

V.    CLASS ACTION ALLEGATIONS

      34.    Pursuant to Rule 23(a), 23(b)(2), and (b)(3) of the Federal Rules of

Civil Procedure, Plaintiff brings this action on behalf of himself and all others

similarly situated (“the Class”) as follows:

       The Class: Current or former employees of Delta Air Lines, Inc.,
       and/or any of its subsidiaries or predecessors, who during their
       employment with any of these entities took short-term military leave
       from their employment and during such short-term military leave were
       not paid the wages or salary that they would have earned had they
       continued to work their ordinary work schedules from January 1, 2007,
       through the date of judgment in this action.

      35.    Throughout discovery in this litigation, Plaintiff may find it appropriate

and/or necessary to amend the definition of the Class. Plaintiff will formally define

and designate a class definition when he seeks to certify the Class alleged herein.

      36.    Ascertainable Class: The Class is ascertainable in that each member

of the class can be identified using the information contained in DAL’s records.




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      37.   The members of the Class are sufficiently numerous that joinder of all

members is impracticable. The exact size of the Class is ascertainable through

DAL’s records, including but not limited to DAL’s employment records.

      38.   Common Questions of Law or Fact Predominate: There are

questions of law and fact common to the Class, and these questions predominate

over individual questions. Such questions include, without limitation:

            (a) whether DAL’s failure to pay its employees on short-term military

      leave violates USERRA;

            (b) whether DAL’s acts and practices have violated USERRA by

      discriminating against its employees who are members of the United States

      Armed Services or National Guard and have taken short-term military leave;

            (c) whether Plaintiff and the Class are entitled to compensatory and/or

      liquidated damages; and

            (d) whether injunctive and other equitable remedies for the Class is

      warranted.

      39.   Numerosity: Plaintiff believes and alleges that DAL employs more

than 91,000 employees, and that more than 6,500 of its employees are or were

members of the United States Armed Services or National Guard.




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      40.    Typicality: Plaintiff’s and the Class’ claims arise from and were caused

by DAL’s wrongful conduct. Plaintiff, like all other Class members, suffered

damage as a result of DAL’s violations of USERRA.

      41.    Adequacy: The named Plaintiff will fairly and adequately represent

and protect the interests of the Class and have no conflict of interest with the Class.

Plaintiff seeks no relief that is antagonistic or adverse to the members of the Class

and the infringement of the rights and the damages they have suffered are typical of

all other Class members. Plaintiff retained adequate counsel who have substantial

experience and success in the prosecution of class actions and complex business

litigation matters.

      42.    Superiority: The nature of this action and the nature of laws available

to Plaintiff and the Class make the use of the class action device particularly efficient

and an appropriate procedure to afford relief to Plaintiff and the Class for the wrongs

alleged because:

             a.       The individual amounts of damages involved, while not

      insubstantial, are such that individual actions or other individual remedies are

      impracticable and litigating individual actions would be too costly;

             b.       If each Class member was required to file an individual lawsuit,

      DAL would necessarily gain an unconscionable advantage since it would be


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      able to exploit and overwhelm the limited resources of each individual Class

      member with vastly superior financial and legal resources;

             c.    The costs of individual suits could unreasonably consume the

      amounts that would be recovered;

             d.    Proof of a common factual pattern which Plaintiff experienced is

      representative of that experienced by the Class and will establish the right of

      each member of the Class to recover on the cause of actions alleged; and

             e.    Individual actions would create a risk of inconsistent results and

      would be unnecessary and duplicative of this litigation.

      43.    Plaintiff knows of no difficulty to be encountered in the management

of this action that would preclude its maintenance as a class action.

      44.    Class certification is appropriate pursuant to Fed. R. Civ. Proc. Rule

23(b)(2) because DAL acted on grounds generally applicable to the Class, making

appropriate declaratory and injunctive relief to Plaintiff as a whole. The Class

members are entitled to injunctive relief to end DAL’s practices that have caused its

military affiliated employees to be excluded from certain benefits and to be treated

differently than employees who have taken comparable types of leave.

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                            CAUSE OF ACTION
 For Failure to Pay Wages or Salaries During Periods of Short-Term Military
                   Leave - Violations of 38 U.S.C. § 4316(b)
      45.    Plaintiff hereby alleges and incorporates paragraphs 1- 44 above by

reference herein.

      46.    38 U.S.C. § 4316(b)(1), provides that “a person who is absent from a

position of employment by reason of service in the uniformed services shall be (A)

deemed to be on furlough or leave of absence while performing such service; and

(B) entitled to such other rights and benefits not determined by seniority as are

generally provided by the employer of the person to employees having similar

seniority, status, and pay who are on furlough or leave of absence under a contract,

agreement, policy, practice, or plan in effect at the commencement of such service

or established while such person performs such service.”

      47.    The U.S. Department of Labor’s regulations, which implement and

interpret USERRA § 4316(b)(1), provide that “[i]f the non-seniority benefits to

which employees on furlough or leave of absence are entitled vary according to the

type of leave, the employee must be given the most favorable treatment accorded to

any comparable form of leave when he or she performs service in the uniformed

services.” 20 C.F.R. § 1002.150(b). Under these regulations, the “duration of leave”

“may be the most significant factor” to determine whether two forms of leave are


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comparable, and other relevant factors include “the purpose of the leave and the

ability of the employee to choose when to take the leave.” Id.

      48.    As described above, DAL has maintained a policy or practice of failing

to pay employees their wages or salaries when they take short-term military leave,

while continuing to pay employees their wages or salaries when they take other

comparable forms of non-military leave, such as jury duty and sick leave.

      49.    As described above, jury duty leave and sick leave are comparable to

short-term military leave in terms of the duration, purpose, and/or the ability of the

employee to determine whether to take the leave.

      50.    By adopting and applying a policy or practice of failing to pay the Class

when they take short-term military leave, DAL denied Plaintiff and the Class the

same rights and benefits, including compensation, that DAL provided to employees

who took comparable forms of non-military leave, including jury duty leave and sick

leave, and thus failed to provide the Class the most favorable treatment accorded to

employees who took other comparable forms of non-military leave. By doing so,

DAL violated and continues to violate USERRA § 4316(b)(1).

      51.    Due to DAL’s failure to comply with USERRA § 4316(b)(1), Plaintiff

and other members of the Class received lower wages, salaries, and/or compensation




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than they would have received had DAL complied with USERRA and the

Department of Labor’s implementing regulations.

      52.    The Class' military service obligations are a motivating factor in DAL’s

denial of the Class' wages and salaries during periods of short-term military leave.

      53.    Upon information and belief, DAL’s violation of USERRA §

4316(b)(1) was willful. Accordingly, DAL should be required to pay liquidated

damages pursuant to 38 U.S.C. § 4323(d)(1)(C).

                             PRAYER FOR RELIEF

      WHEREFORE, based on the foregoing, Plaintiff, individually and on behalf

of the Class, requests that the Court enter an Order as follows:

      1.     Determining that this action may proceed and be maintained as a class

action, designating Plaintiff as Lead Plaintiff, and certifying Plaintiff as the Class

representative under Rule 23 of the Federal Rules of Civil Procedure and their

counsel of record as Class Counsel;

      2.     Declaring that the acts and practices complained of herein are unlawful

and are in violation of USERRA;

      3.     Requiring that DAL fully comply with the provisions of USERRA by

providing Plaintiff and Class Members all employment benefits denied them as a

result of DAL’s unlawful acts and practices described herein;

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      4.     Enjoining DAL from taking any action against Plaintiff and the Class

Members that fail to comply with the provisions of USERRA;

      5.     Awarding fees and expenses, including attorneys’ fees pursuant to 38

U.S.C. § 4323(h).

      6.     Awarding Plaintiff and the Class prejudgment interest on the amount of

lost wages or employment benefits due;

      7.     Ordering that DAL pay liquidated damages in an amount equal to the

amount of lost wages, lost compensation and other lost benefits due to DAL’s willful

violations of USERRA;

      8.     Granting an award for costs of suit incurred;

      9.     Granting such other and further relief as may be just and proper and

which Plaintiffs and the Class may be entitled to under all applicable laws.

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                             DEMAND FOR JURY TRIAL

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

hereby demands a trial by jury of all issues triable as of right by a jury in the above

action.

      Respectfully submitted this 11th day of March 2021.

                                 s/ Joseph Coomes, Esq.
                                 Georgia Bar No. 184999
                                 LAW OFFICE OF A. JOSEPH COOMES, LLC
                                 990 Hammond Drive, Suite 840
                                 Atlanta, Georgia 30328
                                 Tel: (404) 220-9994
                                 Fax: (404) 665-3090
                                 Email: ajc@jcoomeslaw.com

Brian J. Lawler, Esq.                       Gene J. Stonebarger, Esq.
California Bar No. 221488                   California Bar No. 209461
PILOT LAW, P.C.                             Crystal L. Matter, Esq.
850 Beech Street, Suite 713                 California Bar No. 278084
San Diego, California 92101                 STONEBARGER LAW, P.C.
Tel: (866) 512-2465                         101 Parkshore Dr., Suite 100
Fax: (619) 231-4984                         Folsom, California 95630
Email: blawler@pilotlawcorp.com             Tel: (916) 235-7140
Pro Hac Vice pending                        Email:
                                            gstonebarger@stonebargerlaw.com
                                            Email: cmatter@stonebargerlaw.com
                                            Pro Hac Vice pending


Attorneys for Plaintiff and the Putative Class




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D of the Local Rules for the United States District

Court for the Northern District of Georgia, I hereby certify that the foregoing has

been prepared in Times New Roman, 14-point font, as permitted by Local Rule 5.1B.


                                      s/Brian J. Lawler
                                      Pro Hac Vice pending


Brian J. Lawler, Esq.
California Bar No. 221488
PILOT LAW, P.C.
850 Beech Street, Suite 713
San Diego, California 92101
Tel: (866) 512-2465
Fax: (619) 231-4984
Email: blawler@pilotlawcorp.com
Pro Hac Vice pending




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